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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION

NUVASIVE, INC. )
)
Plaintiff, )
)

Vv, ) Civil Case No. 6:17-cv-2206-Orl-41GJK
)
ABSOLUTE MEDICAL, LLC, ABSOLUTE _ )
MEDICAL SYSTEMS, LLC, GREG )
SOUFLERIS, DAVE HAWLEY, and )
RYAN MILLER )
)
Defendants. )
)

 

DECLARATION OF PETER MARZANO
Under penalty of perjury and pursuant to 28 U.S.C. § 1746, Declarant, Peter Marzano,
states that:
1, My name is Peter Marzano. I am above the age of eighteen (18) and am fully
competent to give the testimony contained in this Declaration, all of which comes from my

personal knowledge.

2. NuVasive currently employs me as its Vice President, Clinical and Commercial
Enablement.
3. I have held several positions throughout my NuVasive career, which spans over

thirteen (13) years, including as NuVasive’s Senior Director, Market Development Team,
United States from 2010 to 2013. In that role, I was intimately involved with NuVasive’s
innovative, market-leading eXtreme Lateral Interbody Fusion (“XLIF”) Certification program,

which was implemented in 2010, Additionally, I was primarily responsible for the creation

EXHIBIT

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(and updating) of NuVasive’s original XLIF sales training materials prior to the
implementation of XLIF Certification.

4, NuVasive’s training can generally be described as a “phased” program in which
a sales representative attends NuVasive’s “spine school” after being active in the field for
approximately six (6) months, typically as a sales associate (sales representative in
development) or spine specialist. Spine school is an intensive, two-week training program
conducted at NuVasive’s San Diego, California headquarters that educates the participant on
company procedures, products, and case coverage thereby allowing them to sufficiently

represent and distribute NuVasive’s products upon returning to the marketplace.

5. After completing spine school, sales representatives are able to receive XLIF
Certification.
6. To receive XLIF Certification, a NuVasive sales representative must return to

San Diego (or formerly Paramus, NJ) and successfully complete a rigorous operating room
examination consisting of several hundred points that encompass all aspects of the XLIF
procedure. The sales associate and/or representative must be able to correctly identify and
explain all technical aspects and indicators involved in the XLIF procedure.

7. The XLIF Certification program provides the NuVasive sales associate and/or
representatives who complete it a competitive edge in the marketplace related to lateral
approach surgery and its associated complexity of anatomy, integrated technologies, and
procedural sophistication. Indeed, as a result of XLIF Certification these sales associates
and/or representatives possess superior knowledge and clinical skills than those of NuVasive’s

competitors.

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8. To the best of my knowledge, none of NuVasive’s competitors provide their
sales force with any training or certification program relative to their competitive lateral
procedures that is as comprehensive and specialized as NuVasive’s XLIF Certification
program.

9. In fact, those competitors routinely target NuVasive’s XLIF Certified sales
representatives in order to gain access to the superior knowledge and clinical skills that they
possess. In essence, these competitors seek to reap the benefits of that knowledge and those

skills, which NuVasive expends significant time and expense developing.

Further, this Declarant sayeth not.
I declare under penalty of perjury the foregoing igfr d
Date: / off (f le!

Peter Marzaee x | ‘

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